Case 1:15-cv-00706-TSE-IDD Document 148 Filed 06/06/18 Page 1 of 2 PageID# 3158
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                                    UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA                     JUN -6 2018             /


                                             Alexandria Division
                                                                                  CLERK. U.S. DiSTRiCT COURT
                                                                                     ALEXANDRIA, VIRGINIA


DISH NETWORK L.L.C., AL JAZEERA
MEDIA NETWORK, ASIA TV USA LTD.,
B4U U.S., INC., GEO USA LLC, IMPRESS
TELEFILM, INC., MBC FZ LLC, MSM ASIA
LTD., SOUNDVIEW BROADCASTING LLC,
SOUNDVIEW ATN LLC, STAR INDIA
PRIVATE LTD., and VIAC0M18 MEDIA
PRIVATE LIMITED,

                Plaintiffs,

V.                                                     Civil Action No. l:15-cv-00706 (TSE/IDD)

SHAVA IPTV NETWORK LLC, NADEEM
BUTT, IMRAN BUTT, and NAEEM BUTT,
individually and
together d/b/a Shava TV Cres IPTV, Iraa
Enterprises, and Maple Electronics,

                Defendants.



                                             AMENDED ORDER


       This MATTER is before the Court on Plaintiff Dish Network L.L.C.'s ("Dish") Motion to

Amend Contempt Order [Dkt. No. 139]. Specifically, Dish seeks to amend the Court's February 22,

2018 Order [Dkt. No. 138] to add other domain names and instructions for the registries and

registrars. All portions of this Court's February 22, 2018 Order [Dkt. No. 138] remain in full force

and effect. It is hereby

        ORDERED that VeriSign, Inc., OnlineNIC, Inc., and any relevant registries and registrars

holding    or    listing      the   domain    names    Shavatv.com,   Shava-tv.com,   Shavagold.com,

Shavagoldtv.com, Shavamx.com, S-mxtv.com, Tvshava.com, and any other domain names now or

hereafter used by Defendants to distribute, sell, or promote Shava TV set-top boxes or services,

upon receiving actual notice of this Order, shall (i) temporarily disable the domain names through a
Case 1:15-cv-00706-TSE-IDD Document 148 Filed 06/06/18 Page 2 of 2 PageID# 3159
